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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                CHARLESTON DIVISION

IN RE: ETHICON, INC. PELVIC REPAIR                                  Master File No. 2:12-MD-02327
SYSTEMS PRODUCTS LIABILITY                                                     MDL 2327
LITIGATION
------------------------------------------------------
ETHICON WAVE 6 CASES LISTED IN
EXHIBIT A                                                       JOSEPH R. GOODWIN U.S. DISTRICT
                                                                            JUDGE

                 NOTICE OF ADOPTION OF PRIOR DAUBERT MOTION OF
                         ELAINE DUNCAN, M.D. FOR WAVE 6

         Comes now, the Plaintiffs, and hereby adopt and incorporate by reference the Daubert

motion filed against Elaine Duncan for Ethicon Wave 1, Dkt. 2033 (motion), 2036

(memorandum in support). Plaintiffs respectfully request that the Court exclude Elaine

Duncan’s testimony, for the reasons expressed in the Wave 1 briefing. This notice applies to the

following Wave 6 cases identified in Exhibit A attached hereto.

Dated: October 19, 2017                                  Respectfully submitted,

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                                 EXHIBIT A

Zember, Cynthia                  2:12-CV-08211
Moore, Martha E.                 2:12-cv-08220
Felter, Diane                    2:12-cv-08359
Pilgrim, Lena                    2:12-cv-08381
KIEFFABER, CAROLYN               2:12-cv-08464
Murray-Hockey, Barbara           2:12-cv-08548
Ballesteros, Christine           2:12-cv-08919
Cikota, Lisa                     2:12-cv-08921
Gilsdorf, Roi                    2:12-cv-08924
Koch, Patricia                   2:12-cv-08926
Ward, Karrie                     2:12-cv-08928
Searcy, Patricia                 2:12-cv-08953
Nobles, Mary                     2:12-cv-08955
Barnes, Mayo                     2:12-cv-09025
Dixon, Carolyn                   2:12-cv-09038
Jeffers, Rita                    2:12-cv-09092
Nurdin, Joyce                    2:12-cv-09096
Ellis, Margo                     2:12-cv-09097
Whitmire, Debra                  2:12-cv-09099
McCarley, Sonya                  2:12-cv-09152
Stace, Stephanie                 2:12-cv-09243
Meszaros, Mary                   2:12-cv-09246
Daniels, Paula                   2:12-cv-09249
Shelton, Naomi                   2:12-cv-09250
Clark, Marabeth                  2:12-cv-09251
Greenwood, Michelle              2:12-cv-09252
Beckley, Geraldine               2:12-cv-09257
Harrington, Cynthia Lee          2:12-cv-09265
Longo, Helen D.                  2:12-cv-09266
DeFriece, Brenda K. & Larry W.   2:12-cv-09268
Ingram, Lisa Schneeberger        2:12-cv-09300
Golden, Sheila                   2:12-cv-09303
Shinaver, Rosemarie              2:12-cv-09304
Aguilera, Kimberly               2:12-cv-09418
VanNostrand, Pamela              2:12-cv-09426
Cawthon, Jean                    2:12-cv-09615
Herb, Cheryl                     2:12-cv-09683
Erskine, Monda                   2:12-cv-09686
Selby, Connie                    2:12-cv-09688
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Maul, Elba                     2:12-cv-09708
Pace, Virginia                 2:12-cv-09716
Shaw, Teddy M                  2:12-cv-09774
Cayer, Diane                   2:12-cv-09976
Jacobs, Patricia               2:12-cv-9034
Heatherman, Christine          2:12-cv-9245
Finnegan, Crystal Lynn         2:13-cv-00059
TEDDER, JUDY                   2:13-cv-00097
FISHER, MARGARET               2:13-cv-00100
Eisenberg, Laurie              2:13-cv-00252
Henry, Theresse                2:13-cv-00253
Putano, Shannon                2:13-cv-00275
Richardville, Sarah Ann        2:13-cv-00482
Baylish, Linda                 2:13-cv-00490
Hamlin, Teresa                 2:13-cv-00522
Nunez, Sylvia                  2:13-cv-00533
Tate, Stefanie                 2:13-cv-00740
Wright, Joyce                  2:13-cv-00746
Sisk, Sue                      2:13-cv-00780
Gibbs, Lori                    2:13-cv-00888
Brucker, Terri                 2:13-cv-01026
Leicester, Jennifer            2:13-cv-01040
Lawler, Ruby                   2:13-cv-01046
Jimenez, Ellen                 2:13-CV-01108
Sims, Lydia                    2:13-CV-01110
Hazard, Dolores                2:13-CV-01132
Mouton, Dorothy                2:13-CV-01135
Davis, Julie Ann               2:13-cv-01246
Romero, Linda                  2:13-cv-01294
Lane, Deborah                  2:13-cv-01334
Vaughan, Joyce                 2:13-cv-01338
Boykin, Bethanelle             2:13-cv-01348
Brown, Janice                  2:13-cv-01349
Diaz, Hilda                    2:13-cv-01360
Embry, Dana                    2:13-cv-01376
Gearhart, Renee                2:13-cv-01378
Hankins, Djunia                2:13-cv-01379
McGee, Alta                    2:13-cv-01380
Sheffield, Peggy               2:13-cv-01384
Sloan, Terri                   2:13-cv-01385
Ham, Delpha                    2:13-cv-01462
Wing, Debora                   2:13-cv-01464
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Evans, Deborah                 2:13-cv-01521
HOOPER, LINDA                  2:13-cv-01686
Elliott, Diane                 2:13-cv-01740
Walker, Wylene                 2:13-cv-01742
Meade, Deborah                 2:13-cv-01744
Crane, Regina                  2:13-cv-01746
Heady (Gagnon), Kristin        2:13-cv-01747
Heath, Karen                   2:13-cv-01750
Moore, Brenda                  2:13-cv-01754
Roberson, Constance            2:13-cv-01848
Grizzle Hagans, Angela         2:13-cv-01954
Volpe, Patricia                2:13-cv-02051
Leinemann, Eileen              2:13-cv-02054
Bradley, Beth Ann              2:13-cv-02058
McWherter, Jackie              2:13-cv-02067
Skebey, Marilyn                2:13-cv-02129
Belisle, Julie                 2:13-cv-02317
Bentzinger, Tamara             2:13-cv-02318
Burge, Lois                    2:13-cv-02321
Campbell, Janet                2:13-cv-02322
McMains, Michele               2:13-cv-02325
Melton, Donna                  2:13-cv-02327
Richardson, LaShonda           2:13-cv-02328
George, Nora                   2:13-cv-02511
Parrish, Meredith Ann          2:13-cv-02622
Dillbeck, Tammy                2:13-cv-02638
Lombardo, April                2:13-cv-02640
Young, Patricia                2:13-cv-02642
Wright, Joanne                 2:13-cv-02647
Hanrihan, Gaynel               2:13-cv-02651
Paretti, Bonnie Jean           2:13-cv-0821
Green, Sandra                  2:13-cv-0843
Cardwell, Jannie               2:13-cv-1016
Hoffmann, Joyce                2:13-cv-1284
Douglas, Peggy                 2:13-cv-1753




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                               CERTIFICATE OF SERVICE

       I hereby certify that on October 19, 2017, I electronically filed the foregoing document

with the Clerk of the court using CM/ECF system which will send notification of such filing to

the CM/ECF participants registered to receive service in this MDL.



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